Case 1:23-cv-23008-RMB-MJS Document 1

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

Filed 12/11/23 Page 1 of 5 PagelD: 1

RECEIVED

DEC 4 4 2023
M

DEON BROWN

AT 8:30 .
CLERK, U.S. DISTRICT COURT - DNJ

(In the space above enter the full name(s) of the plaintiff(s).)

- against -

CREVET OWE BANIC

COMPLAINT

Jury Trial: Yes VV No

(check one)

(In the space above enter the full name(s) of the defendant(s). If you
cannot fit the names of all of the defendants in the space provided,
please write “see attached” in the space above and attach an
additional sheet of paper with the full list of names. The names
listed in the above caption must be identical to those contained in
Part I. Addresses should not be included here.)

I. Parties in this complaint:

A. List your name, address and telephone number. Do the same for any additional plaintiffs named. Attach

additional sheets of paper as necessary.

Plaintiff Name DEON RK

Ww

Street Address QB Wied St -
County, City Pocuston \ Ruler
State & Zip Code New IrSry O A0\ b

Telephone Number B47~ buy- RSH

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B. List all defendants. You should state the full name of the defendants, even if that defendant is a government
agency, an organization, a corporation, or an individual. Include the address where each defendant can be
served. Make sure that the defendant(s) listed below are identical to those contained in the above caption.
Attach additional sheets of paper as necessary.

Defendant No. 1

Defendant No. 2

Defendant No. 3

Defendant No. 4

Il. Basis for Jurisdiction:

Name QEyry INE BANK

Street Address £0 Kot O83 73

County, City Clack County , Las Veaas
State & Zip Code Vevaea, 13

Name

Street Address
County, City
State & Zip Code

Name

Street Address
County, City
State & Zip Code

Name

Street Address
County, City
State & Zip Code

Federal courts are courts of limited jurisdiction. There are four types of cases that can be heard in federal court: 1)
Federal Question - Under 28 U.S.C. § 1331, acase involving the United States Constitution or federal laws or treaties
is a federal question case; 2) Diversity of Citizenship - Under 28 U.S.C. § 1332, a case in which a citizen of one
state sues a citizen of another state and the amount in damages is more than $75,000 is a diversity of citizenship case;
3) U.S. Government Plaintiff; and 4) U.S. Government Defendant.

A. What is the basis for federal court Jurisdiction? (check all that apply)
K } Federal Questions [| Diversity of Citizenship
U.S. Government Plaintiff U.S. Government Defendant
B. If the basis for jurisdiction is Federal Question, what federal Constitutional, statutory or treaty right is at

issue? Y\ USC (503 , \ VYSC \pleb cy \Q VC, S04, SUA

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C. If the basis for jurisdiction is Diversity of Citizenship, what is the state of citizenship of each party?

Plaintiff(s) state(s) of citizenship

Defendant(s) state(s) of citizenship

I. Statement of Claim:

State as briefly as possible the facts of your case. Describe how each of the defendants named in the caption of this
complaint is involved in this action, along with the dates and locations of all relevant events. You may wish to
include further details such as the names of other persons involved in the events giving rise to your claims. Do not
cite any cases or statutes. If you intend to allege a number of related claims, number and set forth each claim in a
separate paragraph. Attach additional sheets of paper as necessary.

A. Where did the events giving rise to your claim(s) occur? | & Tid St

Rulington, Na O8O\b

B. What date and approximate time did the events giving rise to your claim(s) occur?

WO" day of Moerar, HIS Bm eSt

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IV. Injuries:

If you sustained injuries related to the events alleged above, describe them and state what medical treatment, if any,

you required and received. Em suffering Lom Menta | distress dug. to
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Vv. Relief:

State what you want the Court to do for you and the amount of monetary compensation, if any, you are seeking, and

the basis for such compensation.

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of QaymMcr for Payment Va Nae Lutute,

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I declare under penalty of perjury that the foregoing is true and correct.

Signed this \| day of. De cero Cc , 20.3

Signature of Plaintiff YEON ROW \
Mailing Address _02) E Yh St
Buc lington y NS OO,

Telephone Number 3y7]- Cu] = 00

Fax Number (if you have one)

E-mail Address DeonS31Q)Gmai\, Com

Note: All plaintiffs named in the caption of the complaint must date and sign the complaint.

Signature of Plaintiff: Nton KROWY
